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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-14102-DMM


   DONALD J. TRUMP,

           Plaintiff,

   v.

   HILLARY R. CLINTON, et al.,

           Defendants.
                                        /

                                       ORDER OF RECUSAL

           The undersigned judge, to whom the above-styled cause has been assigned, hereby recuses

   himself and refers the case to the Clerk of Court for reassignment pursuant to 28 U.S.C. § 455 and

   Internal Operating Procedure 2.16.00 for the Southern District of Florida.

           DATED in Fort Lauderdale, Florida, this 1st day of July 2022.




           In accordance with the Local Rules for the Southern District of Florida, providing for the

   random and equal allotment of cases, this cause will be reassigned to Magistrate Judge Patrick M.

   Hunt.
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          Copies of this Notice shall be served on all pending parties of record in accordance with

   CM/ECF Administrative Procedures.

          By Order of the Court this ___1st___day of July 2022.

                                               ANGELA E. NOBLE
                                               Clerk of Court

                                               /s/ Bryan J. Mc Guinness

                                               By: Deputy Clerk

   Copies to:

   Donald M. Middlebrooks, United States District Judge
   Jared M. Strauss, United States Magistrate Judge

   Patrick M. Hunt_, United States Magistrate Judge
   All Counsel of Record and/or Pro Se Parties




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